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                          EXHIBIT B

Supplemental Expert Report of Owen Astrachan,

                    dated June 26, 2020

          PUBLIC REDACTED VERSION
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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF NEVADA

ORACLE USA, INC., et al.,

                    Plaintiffs,
                                            Case No. 2:10-cv-00106-LRH-VCF
      v.

RIMINI STREET, INC., et al.,

                    Defendants.




                SUPPLEMENTAL EXPERT REPORT OF
                  PROFESSOR OWEN ASTRACHAN
        IN RESPONSE TO SURREBUTTAL REPORT OF BARBARA
                      FREDERIKSEN-CROSS

                                     June 26, 2020




           HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY




______________________________

Professor Owen Astrachan
Dated: June 26, 2020
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                                           I. INTRODUCTION

         1.       I have been retained by Gibson, Dunn & Crutcher LLP and Rimini Street, Inc.
(“Rimini”) as a technical expert in this post-trial proceeding. I previously submitted a Rebuttal
Expert Report on March 13, 2020 (“Rebuttal Report”) 1 in response to the Opening Expert Report
of Oracle’s expert, Barbara Frederiksen-Cross.

         2.       After my Rebuttal Report was submitted, Ms. Frederiksen-Cross submitted three
additional reports: (1) A “Post-Injunction Surrebuttal Expert Report” and Exhibit A thereto on
May 20, 2020; (2) a “Corrected” opening report on May 21, 2020, which contained a new exhibit
number 135; and (3) a “Corrected Post-Injunction Surrebuttal Expert Report” on June 12, 2020
(“Surrebuttal Report”). 2

         3.       I have been asked to evaluate these additional reports. This Supplemental Report
provides my opinions regarding certain of the new issues raised in Ms. Frederiksen-Cross’s
Surrebuttal Report and new Exhibit 135 submitted with her Corrected Opening Report
(“Opening Report”). 3 This Supplemental Report does not address every opinion raised in Ms.
Frederiksen-Cross’s additional reports served since my Rebuttal Report. To the extent this report
does not address any issue or opinion raised by Ms. Frederiksen-Cross’s Surrebuttal Report, that
does not mean I agree with the opinion. I reserve the right to respond further to Ms. Frederiksen-
Cross’s surrebuttal opinions. Additionally, to the extent Ms. Frederiksen-Cross provides
additional opinions or analyses, I reserve the right to respond.

         4.       My experience and qualifications are stated in my Rebuttal Report. In addition to
the materials listed on my materials considered list in my Rebuttal Report, I reviewed Ms.
Frederiksen-Cross’s Corrected Opening Report, Surrebuttal Report, the exhibits attached to each,
the documents cited therein, and ORCLRS1360924, which is a newly produced Oracle file



 1
     Citations to my Rebuttal Report served on March 13, 2020 are identified as “R1 Astrachan Rebuttal Rpt.”
 2
     Citations to Ms. Frederiksen-Cross’s Corrected Post-Injunction Surrebuttal Report, served on June 12, 2020 are
     identified as “R1 Frederiksen-Cross Surrebuttal Rpt.”
 3
     Citations to Ms. Frederiksen-Cross’s Corrected Opening Report served on January 31, 2020 are identified as
     “R1 Frederiksen-Cross Opening Rpt.”



                                                         1
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incorporated into Exhibit A to Ms. Frederiksen-Cross’s Surrebuttal Report. I also reviewed the
transcript of Ms. Frederiksen-Cross’s June 19, 2020 deposition.

                     II. MS. FREDERIKSEN-CROSS’S SURREBUTTAL
                    REPORT COMMITS MORE FUNDAMENTAL ERRORS

         5.       In my Rebuttal Report, I explained that Ms. Frederiksen-Cross’s opinions are
based on a series of fundamental errors that are repeated throughout her analysis. 4 Ms.
Frederiksen-Cross’s Surrebuttal Report purports to respond to these fundamental errors, but her
response does not correct the errors, and commits additional errors.

1.       FUNDAMENTAL ERROR #1: ACCUSING COPYING OF FILES WITH NO
         ORACLE INTELLECTUAL PROPERTY

         6.       In my Rebuttal Report, I explained that Ms. Frederiksen-Cross’s opinions are
highly misleading because




                                                                                      .7




 4
     R1 Astrachan Rebuttal Rpt., ¶ 30.
 5
     R1 Astrachan Rebuttal Rpt., ¶ 31.
 6
     Id. (citing R1 Frederiksen-Cross Opening Rpt., ¶¶ 132, 150, 155, 157–60, 218, 227, 274, 280, 282, 302, 304,
     326, 329, 338).
 7




                                                                     . This is not an exhaustive list.



                                                         2
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         7.       Ms. Frederiksen-Cross’s Surrebuttal Report does not respond to nearly all of these
examples of Fundamental Error #1. This confirms my opinion that this error was pervasive and
substantial.

         1.1      Ms. Frederiksen-Cross Discusses Issues That I Did Not Contend Were
                  Examples Of Fundamental Error #1, But Are Instead Examples Of Other
                  Fundamental Errors

         8.       Ms. Frederiksen-Cross’s Surrebuttal purports to address




         9.       For example, she opines that “




         10.




 8
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 7.
                                                                              (Cont’d on next page)


                                                   3
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           11.




                                                                        Ms. Frederiksen-Cross acknowledged
at her recent deposition, after serving her Surrebuttal Report, that Oracle files on multiple clients’




 9
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 47.
10
     To the extent she is opining that this file violates Paragraph 8 of the Injunction restricting the copying of “J.D.
     Edwards software source code” my opinions on that issue are stated in my Rebuttal Report. R1 Astrachan
     Rebuttal Rpt., ¶¶ 305–13.
11
     R1 Frederiksen-Cross Opening Rpt., ¶ 204.
12
     Id.
13
     R1 Astrachan Rebuttal Rpt., ¶ 32.
14
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 12.
15
     See R1 Astrachan Rebuttal Rpt., ¶ 39 (noting that this tax910au.sqr example is an example of Fundamental
     Error #3).
                                                                                              (Cont’d on next page)


                                                            4
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environments often start out the same as delivered from Oracle and then will remain the same or
similar after being modified by Rimini. 16

           1.2    Ms. Frederiksen-Cross Is Wrong To Claim That I Suggested That The
                  Injunction Is Limited To Literal Copying

           12.


                                         . I did not opine that Injunction prohibits only literal copying,
and I did not restrict my analysis to literal copying. With respect to the examples of
Fundamental Error #1 that I identified in my Rebuttal Report,



           13.




           14.




16
     Deposition of Barbara Frederiksen-Cross, June 19, 2020, pp. 186–88.
17
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 19.
18
     Id.
19
     See R1 Astrachan Rebuttal Rpt., ¶¶ 42 (Fundamental Error #6), 94 (citing Lewis Galoob Toys, Inc. v. Nintendo
     of Am., Inc., 964 F.2d 965, 969 (9th Cir. 1992) (“A derivative work must incorporate a protected work in some
     concrete or permanent form.”)).
20
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 20.
21
     Ms. Frederiksen-Cross recognized this fact at her June 19, 2020 deposition, acknowledging that such derivative
     works are authorized where the client has a license. Deposition of Barbara Frederiksen-Cross, June 19, 2020,
     pp. 94–96.
                                                                                         (Cont’d on next page)


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         15.




                                                                                       I disagree; that
logic does not follow.
                                                            , the evidence shows that any use of Raley’s
system in development and testing occurred on Raley’s computer systems to support Raley’s.
Ms. Frederiksen-Cross does not contend that Raley’s did not require the update, nor that it did
not contract for the update. Indeed, Ms. Frederiksen-Cross testified at her recent deposition that
she could not recall identifying any update Rimini implemented for a client that the client did not
need, and her reports do not identify any. 26




22
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 21.
23
     Id. ¶¶ 22–24
24
     Id. ¶ 24.
25
     Id. ¶ 25.
26
     Deposition of Barbara Frederiksen-Cross, June 19, 2020, p. 162.
                                                                                    (Cont’d on next page)


                                                        6
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         1.3       Files Ms. Frederiksen-Cross Contends Contain Oracle Code

         16.       Of the numerous examples of files on Rimini’s systems that I contend reflect her
Fundamental Error #1,




         17.       As explained in my Rebuttal Report, the Dev Instruction for HCM200929 is not
substantially similar to the Oracle file taxmmref.sqc. 28 The similarities in the code are the result
of constraints imposed by the form of Social Security Administration records. 29




                                                                   .

         18.




         19.




27
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 9.
28
     R1 Astrachan Rebuttal Rpt., ¶¶ 183–91.
29
     E.g., id. ¶ 185.
30
     Id. ¶¶ 195–202.
31
     Id. ¶ 196.
32
     The 49-page Rimini technical specification is Exhibit 41 to Ms. Frederiksen-Cross’s Rimini I Opening Report.
33
     R1 Frederiksen-Cross Opening Rpt., Ex. 41 at 10.
                                                                                         (Cont’d on next page)


                                                         7
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                                                          Ellipses where Oracle
                                                          code would have been




         20.




                                                                                  .



34
     R1 Astrachan Rebuttal Rpt., ¶ 297.
35
     R1 Frederiksen-Cross Opening Rpt., ¶ 304.
                                                             (Cont’d on next page)


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         22.




36
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 13.
37
     R1 Astrachan Rebuttal Rpt., ¶ 298.
38
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 15.
                                                             (Cont’d on next page)


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           24.




39




40
     R1 Astrachan Rebuttal Rpt., ¶ 268.
41
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 17.
42
     Id.
43
     See Rimini II, Rebuttal Expert Report of Professor Owen Astrachan, dated July 13, 2018 (“R2 Astrachan
     Rebuttal Rpt.”), ¶ 205 (explaining factors that must be considered in analytic dissection).
44
     R1 Astrachan Rebuttal Rpt., ¶ 266.



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2.         FUNDAMENTAL ERROR #2: ACCUSING COPYING WITHIN A SINGLE
           CLIENT

           25.




           26.




           27.




45
     Id. ¶ 35.
46
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 28.
47
     Id.



                                                    11
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         28.




         29.




        ¶ 31.
49
     R1 Astrachan Rebuttal Rpt., ¶ 318.



                                          12
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3.         FUNDAMENTAL ERROR #3: REFERRING TO “COPYING” WHEN TWO
           FILES ARE MODIFIED SEPARATELY

           30.




           32.




           33.    I


                                                         . To the extent Rimini is



50
     Id. ¶ 38.
51
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 33.
52
     Id.



                                                    13
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merely reproducing (from memory or otherwise) its own work product—e.g., its own solution
and its own code—that is not a violation of any Injunction prohibition, as I understand it.




         34.




         35.


                                                                      I did not limit my
understanding of terms such as “distribution,” “sent,” or “provided,” to automated systems. For
example, emailing a file manually would commonly be understood to qualify as “sending,” or
“providing” it and would also be “distributing” in the non-Copyright-specific sense of the



53
     R1 Frederiksen-Cross Opening Rpt., ¶ 205.
54



55
     R1 Astrachan Rebuttal Rpt., ¶ 40.
56
     See, e.g., id. ¶¶ 40, 178–79, 284, 317.
57
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 35.
                                                                             (Cont’d on next page)


                                                    14
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word. 58




           36.                                                                                              . If two
clients have the same file, File X, and Rimini modifies a line of code of File X separately in each
client’s environment, Rimini did not “send” or “provide” File X to both clients. That file was
already in each client’s environment. Rimini also did not “send” or “distribute” the modified
File X to both clients—most of File X was already there. It would be accurate to say that the
modified line of code was provided.

           37.     Some examples of this error include the following.




                                                                       There is no evidence that Rimini
“distributed” tax910au.sqr; that file existed on client systems originally. Rimini made
modifications to the file in each client’s environment, separately.

5.         FUNDAMENTAL ERROR #5: ACCUSING THE USE OF KNOWLEDGE AND
           KNOW-HOW

           38.



58
     See R1 Astrachan Rebuttal Rpt., ¶ 315 (“I understand that a ‘distribution’ under the Copyright Act requires an
     actual dissemination or transfer of ownership to take place. In other words, the software has to ‘change hands,’
     for example by sale or rental, lease, or lending. I understand that the distribution must also be ‘to the public’ to
     violate the Copyright Act.”).
59
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 35.
60
     R1 Frederiksen-Cross Opening Rpt., ¶ 179.
61
     Id., ¶ 203.
                                                                                              (Cont’d on next page)


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         39.      I gave a very large number of examples of this, but the example below is
particularly instructive. Ms. Frederiksen-Cross was asked at her September 2018 deposition the
following question:

         Let’s say an engineer at Rimini working for client A figures out that a particular
         table, let’s call it [“]state tax table[”], needs to be changed in some way. A different
         engineer implementing the same fix, the same update for Client B emails the first
         engineer and says, “Hey, do you know what table will need to be changed to
         implement this fix?” And the engineer replies, “The state tax table.” Is that cross-
         use because the name of the table was referenced?




                                                     .” 63

         40.


                                                                                 My point is that the
Injunction does not prohibit (nor do Oracle’s license agreements prohibit) re-use of knowledge
learned, or the re-use of Rimini’s work product (which is not copyrighted to Oracle). This is not
a “carve-out”; it simply is not prohibited.




62
     R1 Astrachan Rebuttal Rpt., ¶ 41; see also id. ¶¶ 53–66, 159–60, 253–58, 261–62, 271.
63
     Deposition of Barbara Frederiksen-Cross, Sept. 19, 2018, pp. 248–50.
64
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 37.
                                                                                        (Cont’d on next page)


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                                                                                                 65
                                                                                                      At her June
2020 deposition, she was asked the same question and again could not answer. 66

         41.




     •




65
     R1 Astrachan Rebuttal Rpt., ¶ 65. She testified that “my solution would be to go and confer with counsel and
     find out what the legal answer is.”

66
     Deposition of Barbara Frederiksen-Cross, June 19, 2020, pp. 147–48.
67
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 37.
68
     See R1 Frederiksen-Cross Opening Rpt., ¶¶ 16–17; R1 Astrachan Rebuttal Rpt., ¶¶ 47–53 (explaining the
     breadth of these assumptions).
69
     Corrected Supplemental Expert Report of Barbara Ann Frederiksen-Cross, dated June 19, 2018 (“R2
     Frederiksen-Cross Supp. Rpt.”), ¶ 217 (emphasis added).
70
     Id. ¶ 715 (emphasis added).
                                                                                         (Cont’d on next page)


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     •




     •   Ms. Frederiksen-Cross testified, as quoted above, that it would be “cross-use” for one
         engineer to tell another engineer that the table that needs fixing is “the state tax table.”
         She testified “A. Where the knowledge and use of the first customer’s licensed
         environment was used to derive that information, the first customer's license was used
         to derive that information, it’s my understanding that it's cross-use for that use of the
         first customer’s environment to be used on behalf of a second or different customer for
         use in that customer’s licensed -- that second customer’s licensed environment.” 75



71
     R1 Frederiksen-Cross Opening Rpt., ¶ 272 (emphasis added).
72
     Deposition of Barbara Frederiksen-Cross, Sept. 19, 2018, pp. 233–34 (emphasis added).
73
     Id. p. 151 (emphasis added).
74
     R1 Frederiksen-Cross Opening Rpt., ¶ 365 (emphasis added).
75
     Deposition of Barbara Frederiksen-Cross, Sept. 19, 2018, p. 249 (emphasis added).
                                                                                         (Cont’d on next page)


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     •




         42.      The above are examples, not an exhaustive list. In addition, even after her
Surrebuttal Report, Ms. Frederiksen-Cross gave deposition testimony again confirming




76
     Deposition of Barbara Frederiksen-Cross, Sept. 19, 2018, p. 186 (emphasis added).
77
     Id. at pp. 194–95.



                                                        19
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     •   Ms. Frederiksen-Cross was asked if a Rimini engineer who fixed an issue for Client A
         could remember his fix and use it for Client B who was encountering the same issue. She
         responded: “[I]f the engineer remembered exactly the code he wrote, exactly what he
         fixed, exactly where he fixed it, and he relied on that very specific knowledge and
         detailed knowledge to re-create that update for another customer, then it would be my
         understanding that because he’s relying on the work done in the system of Client A to
         identify the change and to implement the change and to test the change when he goes to
         Client B with the certainty that that is the change required that that would be
         impermissible.” 78

     •   She also testified: “[E]ven just the act of testing that – or developing the fix in the first
         place and then testing it so that you know this is the fix, when you transport that
         knowledge to another environment, you may be running through the same set of tests, but
         you’ve already benefited from the fact of developing that test – or developing that test
         plan of what to test and what not to test and how to test it and what specific steps to take
         in the test.” 79

     •   She also testified that “cross-use” does not depend on any time savings, but occurs when
         “using the benefit of the knowledge gained on Client A’s system when you develop that
         update, then applying that for the benefit of the another customer when you apply that
         update elsewhere.” 80

         43.       These are non-exhaustive examples. The essence of Ms. Frederiksen-Cross’s
testimony was that any knowledge gained by a Rimini engineer in performing a fix for Client A
could never be reused because then Client B would “benefit” from Rimini’s knowledge.

         44.



78
     Deposition of Barbara Frederiksen-Cross, June 19, 2020, pp. 130–31.
79
     Id. p. 166.
80
     Id. p. 118.
81
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 38.
                                                                                 (Cont’d on next page)


                                                       20
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         45.


                                                                             When the Rimini developer is
using Client A’s environment and making modifications and performing testing to implement
Rimini’s update, he is using Client A’s environment to support Client A, which complies with
the Injunction. When he documents the solution, including any Rimini-written code, that does
not violate the Injunction because Rimini’s work product is not Oracle software and
documentation (nor is it copyrighted to Oracle). And when Rimini solves the same problem for
subsequent clients in those clients’ environments, its use of each client’s software is to support
that client. This is consistent with the Injunction.

         46.




82
     Id. Additional non-exhaustive examples of Ms. Frederiksen-Cross committing this error are the following
     paragraphs of her Opening Report: 40–45, 208–11, 231–66, 272–77, 288–89, 298–304, 348, 365, 374.
83
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 38.
84
     E.g., R1 Astrachan Rebuttal Rpt., ¶¶ 248–59.
85
     See, e.g., Deposition of Barbara Frederiksen-Cross, Sept. 19, 2018, p. 151 (“you were applying that knowledge
     in the second environment, then I would say yes, you’re cross using that knowledge”).
                                                                                         (Cont’d on next page)


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                                                                                          In fact, as I stated in
my Rebuttal Report, Oracle’s expert at trial in Rimini I testified that an example of conduct that
was not “cross-use” is having “one dev[elopment] environment for every client who is using the
software” 87—i.e., precisely the conduct Rimini engages in now under Process 2.0.

         47.




                                                                                                 . 90 So long as
the solutions written down are Rimini work product and Rimini knowledge, and do not
substantially incorporate protected expression from Oracle works, the Injunction, as I understand
it, does not prohibit using that solution and knowledge.



86
     See R1 Astrachan Rebuttal Rpt., ¶¶ 143–60. Ms. Frederiksen-Cross does not respond to any of these opinions
     in her Surrebuttal Report.
87
     Trial Tr. at pp. 204–05.
88
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 39.
89
     R1 Frederiksen-Cross Opening Rpt., ¶ 277; R1 Astrachan Rebuttal Rpt., ¶ 280.
90
     Ms. Frederiksen-Cross recognizes this by acknowledging that there is no difference between “taking highly-
     detailed notes” and “memorization.” R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 39.
                                                                                         (Cont’d on next page)


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         48.




6.       FUNDAMENTAL ERROR #6: MISREPRESENTATION OF DERIVATIVE
         WORKS

         49.




         50.


                                                                                          It is not my
understanding that a work must contain literal copying to be a derivative work, and I did not say
that in my reports. However, to be a derivative work, a work must “substantially incorporate
protected material” from the prior work. There could be ways to substantially incorporate
protected material through non-literal copying,



         51.


                                                         as I said in my Rebuttal Report in Rimini II, that



91
     Id. ¶ 41.
92
     R1 Astrachan Rebuttal Rpt., ¶ 190.
93
     See id. ¶ 42; Lewis Galoob Toys, Inc. v. Nintendo of Am., Inc., 964 F.2d 965, 969 (9th Cir. 1992) (“A derivative
     work must incorporate a protected work in some concrete or permanent form.”).
94
     R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 44 (underlining added).
                                                                                           (Cont’d on next page)


                                                         23
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the Ninth Circuit has stated that “[t]he statutory language is hopelessly overbroad.” 95 Therefore,
I understand the Ninth Circuit has stated that “[t]o narrow the statute to a manageable level, we
have developed certain criteria a work must satisfy in order to qualify as a derivative work”
including that it “must substantially incorporate protected material from the preexisting work.” 96

          52.




                                              That is simply wrong; the Windows version of PeopleSoft
cannot run independently of Windows.
                                                                                . I do not see any reference
to “updates” or “wholly independent programs” in the copyright statute,



7.        FUNDAMENTAL ERROR #7: MISREPRESENTING INJUNCTION
          PROHIBITIONS

          53.      I explained in my Rebuttal Report that the Injunction does not contain any
restriction that JD Edwards software (as opposed to PeopleSoft software) be used only on the
“client’s own computer systems.”
                                                           , as though that is a violation, even though it is
not. 98

 95
      R2 Astrachan Rebuttal Rpt., ¶ 64 (quoting Micro Star v. Formgen Inc., 154 F.3d 1107, 1110 (9th Cir. 1998)).
 96
      Micro Star v. Formgen Inc., 154 F.3d at 1110.
 97
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 45.
 98
      R1 Astrachan Rebuttal Rpt., ¶ 44.



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          54.


                                                                                                 which was
highly misleading because prvtsidx.plb is not a PeopleSoft file and the Injunction contains no
prohibition on the presence of JD Edwards files on Rimini’s systems.

          55.
                                                                                           The presence of that
file on Rimini’s systems does not alone violate the Injunction because there is no “own computer
systems” restriction in the Injunction for JD Edwards.



                9
                    But there is no evidence to support that statement.



                    III. MS. FREDERIKSEN-CROSS’S NEW OPINIONS
                 REGARDING CLOUD ENVIRONMENTS ARE TECHNICALLY
                               UNSOUND AND SPECULATIVE

          56.




                                                                                        This is incorrect. The
reason I have previously discussed the similarities between local and cloud hosting is to
underscore that, with respect to the issue of control, there is no significant difference between a
client’s ability to exercise control over software when using either hosting model.

          57.                                              , the Ninth Circuit held that it is “necessary to
read a requirement of ‘control’ into the definition of ‘[a licensee’s] facilities.’” 101 In my Rebuttal
Report, I opined that there is “no practical difference from a technical perspective” between how


 99
      R1 Frederiksen-Cross Opening Rpt., ¶ 48.
100
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 50.
101
      Oracle USA, Inc. v. Rimini St., Inc., 879 F.3d 948, 960 (9th Cir.).



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a client or its representatives access software stored in the cloud or on a local server. In either
case, the client (or client’s representative) must possess login credentials that allow it to access
the server and/or virtual machine. Even where a client has possession or control over the
physical space where a server is located, or the physical equipment itself, such physical access
and control does not equate to any meaningful access to the software stored on the server.
Conversely, where a client has control over the software, it is irrelevant for practical purposes
who owns the physical hardware or the building in which it is housed, or the land on which the
building sits.

          58.       I




                                                                                During her deposition, Ms.
Frederiksen-Cross asserted that a virtual machine could not constitute a client’s “own computer
systems.” 104 This assertion is based on her “understanding” that a computer system can only be
comprised of “a computer or server”—in other words, the physical hardware components. 105

          59.       As a technical matter, I disagree that a “computer system” can only include
physical hardware. As Ms. Frederiksen-Cross conceded, a virtual machine is a “very smart piece
of software” that “can provide services comparable . . . or perhaps even almost identical to those
provided by a particular computer system.” 106 There is no technical reason why a virtual
machine that offers these services and belongs to the client cannot be part of the client’s “own

102
      R1 Frederiksen-Cross Opening Rpt., ¶ 14.
103
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 52.
104
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, pp. 213–14, 230–31.
105
      Id. p. 212.
106
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, p. 213.



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computer systems”; the virtual machine is a “system” that provides computing services and
functionality. I thus see no technical rationale for excluding a virtual machine owned by a client
from the client’s “own computer systems.”

          60.
                                         ” would produce absurd results. During her deposition, she was
asked to opine on this hypothetical:

          Q. . . Assume you own everything. You own the land. You own the building. You
          own the physical server. And you rented out -- you rent out the ability to someone
          to have a virtual machine on your server. And you give them remote access to that
          virtual machine. They change the admin, the root password for that virtual machine.
          You can no longer access that virtual machine. . . . [W]hose computer system is
          that virtual machine, if anyone’s?” 107

Ms. Frederiksen-Cross responded that the first party would own “the computer system,” (the
server, according to her definition) and the second party would own the virtual machine, but
ownership over the virtual machine would not “change who owns the computer system.” 108 In
other words, even though the first party could not access the virtual machine or the software
stored in it, and only the second party could do so, Ms. Frederiksen-Cross would still consider
the virtual machine to be part of the first party’s (and not the second party’s) “own computer
system” because the first party had physical possession of the server. This result would make
little sense if the purpose of the “own computer systems” restriction is to protect Oracle’s
intellectual property rights in the software.

          61.      I


                                109
                                      Ms. Frederiksen-Cross conceded at her deposition that there are a
number of different forms of control that an entity could possess over a cloud account, including
the ability to access the virtual machine, to turn the virtual machine on and off, open and close
networking ports, configure the virtual machine, create and delete user accounts, set user

107
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, p. 228.
108
      Id. at 229–30.
109
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 52.
                                                                                   (Cont’d on next page)


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permissions, move the virtual machine to a different sever, and create or delete the virtual
machine. 110 But when asked what the basis was for her opinion that Rimini has “entire control”
over client’s Windstream virtual machines, Ms. Frederiksen-Cross referred only to the deposition
testimony of a Rimini client in which the client asserted that the client does not have access to
the software environment located within its Windstream virtual machine. 111 Ms. Frederiksen-
Cross conceded that she did not perform any analysis of access control lists for Windstream
environments in her Rimini I expert reports to verify this claim from a technical perspective. 112
And, with respect to the other forms of control, she conceded that she performed no technical
analysis; she did not analyze network configurations, client machine configurations, folder
permissions, or other permissions associated with clients’ virtual machines for the post-
injunction period. 113 Given that all of these can be forms of control over a virtual machine,
                                              in my opinion Ms. Frederiksen-Cross does not have any
reliable technical basis to conclude that Rimini has “primary, if not exclusive” control over
client’s virtual machines.

          62.




                                                                                         During her deposition,
Ms. Frederiksen-Cross admitted that she was not offering an opinion “specifically on Oracle or
PeopleSoft’s motives” regarding the inclusion of the facilities restriction in some legacy



110
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, pp. 235–45.
111
      Id. pp. 254–55.
112
      Id. pp. 255–56. Ms. Frederiksen-Cross appears to be referring to the 30(b)(6) deposition testimony of Easter
      Seals. As I noted in my Rebuttal Report, Easter Seals’ representative testified that even though Easter Seals
      does not “physically use” the environments hosted on Windstream, those environments are “for Easter Seals,”
      and that Rimini uses those environments “to support Easter Seals” “[f]or our benefit,” which is why Easter
      Seals hired Rimini. R1 Astrachan Rebuttal Rpt., ¶ 171; Deposition of Jay Hoyt (Easter Seals), Sept. 20, 2019,
      pp. 122–23.
113
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, pp. 256–58.
114
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 53.
                                                                                           (Cont’d on next page)


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PeopleSoft license agreements. 115 She also conceded that she did not speak with any of Oracle’s
“technical people” about her assertions regarding the cloud and security. Instead, she was
attempting in her Surrebuttal Report to give “some technical background about . . . [w]hy some
of those considerations might be something that a licensor of software might want to consider.” 116
She acknowledged that she is not an expert in ERP software licenses. 117

          63.




                            It is not clear what relevance such speculation has to the technical issues
in this proceeding; asserting that cloud computing configurations may have security
vulnerabilities—even if accurate—does not make a cloud account less likely to be a client’s
“own computer systems.” I


                                                                        .


                         I disagree with them as a technical matter, as follows.

          64.




                                                                                       However, this is
not a cloud-specific issue; instead, encryption measures are standard whenever sensitive data is
sent over the Internet, which could occur in any number of circumstances. It is common, for
example, for a company to have a remote data center with servers that are accessed via the
Internet. It is also common for employees to work from home and remotely connect to a
company’s software resources over the Internet. If a reasonable licensor wanted to avoid any

115
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, p. 260.
116
      Id. pp. 260–61.
117
      Id. p. 258.
118
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 54.



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obligation to provide encryption—an implausible expectation in the Internet age—a restriction
that prevented use of cloud services provided by a third party, but not all other access to the
software over the Internet, would make little sense.

           65.


                                                                        But as discussed above, physical
access to hardware does not equate to access to software. Moreover, this same supposed concern
would apply to any third party with physical access to servers where software is stored.
                                   no provision in the license agreements at issue here that prohibits,
for example, third-party vendors from accessing servers stored within a client’s own building to
provide hardware maintenance or service.

           66.




                                                                   ” 120 Her contention is a red herring. Ms.
Frederiksen-Cross testified in her deposition that the facilities restriction prevents cloud hosting
regardless of whether the licensee owns the server exclusively, or uses a multitenant model. 121 In
any event, it is little more than an assertion that security measures can fail, a truism that is
obviously not limited to cloud computing. Of course, a multitenant hosting provider’s business
model depends on ensuring that clients’ data and software stay siloed—few software users would
be interested in a hosting solution where the vendor could not guarantee as much. 122 And while
it is true that measures taken by a hosting vendor could, in theory, fail, the same is true of any

119
      Id. ¶ 55.
120
      Id. ¶ 56.
121
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, p. 223 (“My understanding based on the guidance I
      was given by counsel about what ‘facilities’ means is that just controlling the presence of your computer in
      somebody else’s rack in somebody else’s building on somebody else’s land probably does not rise to that level
      of owning or leasing that’s required based on the understanding I was given of this facilities clause.”).
122
      For example, Windstream’s corporate representative testified that Windstream ensures that different users who
      host software in virtual machines on a Windstream multitenant server are not able to access each other’s virtual
      machines. 30(b)(6) Deposition of Jeff Waide, Oct. 17, 2019, p. 36. As he explained, “no customer would
      subscribe to us if they believed other customers had access to their computing infrastructure and they wouldn’t
      want access to anybody else’s stuff. So everybody, for security reasons, would need to be kept separate.”



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security measures taken by any software user. Indeed, software in a multitenant cloud hosting
arrangement could be, and often is, significantly more secure than software on a client’s local
server (for instance, where the client’s security measures are substandard). The concern that
security may fail is not a rationale for prohibiting cloud use; if anything, it is a rationale for
encouraging better security practices regardless of the hosting model employed.

               IV. MS. FREDERIKSEN-CROSS CONTINUES HER ERRORS
              WITH RESPECT TO RIMINI’S JD EDWARDS SUPPORT SERVICES

           67.




                                                                  .

           68.




                      3




                          As noted above, this document contains a small handful of markers, with
ellipses where Oracle code would be, for the purpose of providing guidance on where in the
Oracle file a Rimini developer should include Rimini-developed code (and not for the purposes


123
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 59.



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of copying Oracle code between different clients).



          69.




          70.




                                                     . It is not a reliable methodology to broadly
accuse JD Edwards updates of being the product of cross-use without performing any analysis to
determine whether they were in fact written completely by Rimini.



124
      R1 Frederiksen-Cross Opening Rpt., ¶ 296.
125
      R1 Astrachan Rebuttal Rpt., ¶ 290.
126
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 60.



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          71.       Ms. Frederiksen-Cross had access to a large number of JD Edwards updates
developed by Rimini,




          72.




                                                                          This is Fundamental
Error #5.

                      V. MS. FREDERIKSEN-CROSS’S OPINION
                REGARDING DISPLAY ADAPTER MEMORY IS ERRONEOUS

          73.




                                                                                             .

          74.




                                                                        Ms. Frederiksen-Cross
also testified during her deposition that it was her opinion that Rimini’s practice of remotely
connecting to a client’s systems to perform development and testing work on a PeopleSoft file


127
      R1 Frederiksen-Cross Opening Rpt., ¶ 197.
128
      R1 Astrachan Rebuttal Rpt., ¶ 209.
129
      R1 Frederiksen-Cross Surrebuttal Rpt., ¶ 71.



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creates two “reproductions” or “derivative works” in violation of the Injunction: (1) a
reproduction of the content of the file within the display adapter memory and (2) a reproduction
in the light emitted by the Rimini developer’s computer monitor. 130 I continue to disagree with
Ms. Frederiksen-Cross’s opinions.

          75.       A computer monitor displays images by emitting light from pixels in its screen.
When viewed by the human eye, the light emitted by the pixels can combine to form an image of
text (including, for example, an image of code). The pixels emit light based on color and
brightness values that are assigned to each pixel. Data relating to these pixels may be present in
display adapter memory, but only for exceedingly brief periods of time, on the order of
hundredths or thousandths of a second.                                        , refresh rates for
computer monitors are generally 60 times per second or higher. 131 This means that, 60 times
every second, the pixel data in the display adapter memory are overwritten by new values as the
user opens and closes files and applications; minimizes, maximizes, and rearranges windows;
scrolls content within particular windows; types characters; and even moves the mouse cursor.
In other words, the pixels displayed—and the data representing those pixels in display adapter
memory—are constantly changing as the user interacts with the elements on the screen.
Moreover, the display adapter memory does not contain the software being run or any files that
are open. Rather, it contains only data relating to pixel color and brightness for what is being
currently displayed on the Rimini engineer’s screen, and even then, only the outermost, user-
visible elements. Thus, for example, if a monitor screen is displaying two overlapping windows,
the display adapter memory may temporarily contain pixel data for the portions of the windows
that are currently visible (and not the portion of the window that is “behind” the other
overlapping window). And, as soon as the user closes, scrolls down, or minimizes a file on the
monitor, the pixel data stored in the adapter memory adjusts accordingly.



          76.       When a Rimini developer remotely connects to a client’s system and views a
client’s Oracle file, the Oracle code is not reproduced in the display adapter memory. Instead, as


130
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, pp. 289–91.
131
      Id. p. 293.



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explained above and in my Rebuttal Report, the display adapter memory merely contains data
relating to the color and brightness for the pixels that that make up whatever is being represented
on the screen for that instant in time.

          77.      I understand that, under the Copyright Act, a “copy” is a “material object[]. . . in
which a work is fixed by any method now known or later developed, and from which the work
can be perceived, reproduced, or otherwise communicated, either directly or with the aid of a
machine or device.” 132 I further understand that to be “fixed,” the work must be “sufficiently
permanent or stable to permit it to be perceived, reproduced, or otherwise communicated for a
period of more than transitory duration.” 133 I further understand that, to be a derivative work, a
new work must incorporate a protected work in some “concrete or permanent form.” 134

          78.      From a technical perspective, in my opinion the Oracle code (as textual code)
viewed by a Rimini developer connecting remotely to a client machine is not reproduced in the
display adapter memory. The data relating to pixel brightness and color in the display adapter
memory (in order to project an image of what is occurring on the screen, including all windows,
menus, icons, etc.) are not the same as, nor substantially similar to, the actual Oracle code in the
file that remains on the client’s system. Moreover, even if this data were properly described as a
reproduction of the Oracle code, they are not “fixed” in a “permanent,” “stable,” or “concrete”
form. To the contrary, they are highly transitory and unstable because they are refreshed at a rate
of 60 times per second or more. Moreover, as soon as a developer closes an Oracle file or
minimizes the window displaying it, the data associated with the display of the Oracle file are
overwritten.

          79.      My opinion is the same with respect to the display of content on a Rimini
engineer’s computer monitor. The text displayed on a monitor screen is not “fixed” in the pixels
or the screen, or any other tangible medium. Rather, the image of the text




132
      17 U.S.C. § 101 – Definition of “Copies”
133
      17 U.S.C. § 101 – Definition of “Fixed”
134
      Micro Star v. Formgen Inc., 154 F.3d 1107, 1110 (9th Cir. 1998).
                                                                                  (Cont’d on next page)


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                                                                                               Like display
adapter pixel values, photons emanating from pixels are not “permanent,” “concrete,” or
“stable.” Instead, they are inherently impermanent and intangible. 136

          80.
                                                                                         As one example, if it
were correct that pixel values in display adapter memory, or the light emanating from those
pixels, could constitute a “copy” of protected expression, then any viewing of a copyrighted
work via an Internet browser would create (likely unauthorized) reproductions of that work, even
without any browser caching or downloading activity.

          81.


                                                                        At trial, Mr. Allison testified on direct
examination that a third party would be authorized to “dial in remotely to the customer’s facility
and access and use the software that way.” 137 Mr. Allison further testified that where a licensee
has a facilities restriction in its PeopleSoft license—which would prevent copying of the
software outside the licensee’s facilities—the licensee’s employees were still allowed to
remotely access and copy the software from their homes even though the employees’ homes
would not, in Oracle’s view, qualify as the licensee’s facilities. Mr. Allison explained that this is
because the employee is “accessing and using it remotely, but the running of the software, the
copy of the software, that’s all at the customer's facility, and that’s where it’s actually being
run.” 138 That was a technologically correct statement by Mr. Allison—the software, including
RAM copies, exists only on the customer’s computer. Ms. Frederiksen-Cross’s opinions, on the
other hand, are directly at odds with Mr. Allison’s testimony. During her deposition, she

135
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, p. 291.
136
      Ms. Frederiksen-Cross appeared to admit that screen images of Oracle code on a monitor are not permanent or
      “fixed” during her deposition, when she suggested that a developer could use “screen capture software” to
      “actually record that entire section and create a permanent record of that code on the machine.” Id. pp. 287–88.
      In other words, to fix the image of the code in a permanent form, the developer would have to take an addition
      step: using screen capture software that would save a copy of the image to the disk.
137
      Trial Tr., pp. 839, 846.
138
      Trial Tr., pp. 1061–62.
                                                                                            (Cont’d on next page)


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testified that because remote access to Oracle software supposedly creates actionable copies of
the software on the machine performing the remote access, a client with a facilities restriction in
its PeopleSoft license would violate the restriction if the client’s employee accessed the software
from the employee’s home. 139




139
      Deposition of Barbara Frederiksen-Cross, June 19, 2020, pp. 284–86.



                                                        37
